                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


    MARGARET CZERWIENSKI,
    LILIA KILBURN, and AMULYA
    MANDAVA

          Plaintiffs,
     v.                                                        CASE NO. 1:22-cv-10202-JGD

    HARVARD UNIVERSITY AND THE
    PRESIDENT AND FELLOWS OF
    HARVARD COLLEGE

          Defendants.


    HARVARD’S MOTION FOR PARTIAL SUMMARY JUDGMENT AS TO COUNT TEN

          Defendant President and Fellows of Harvard College1 respectfully request that the Court

enter summary judgment in their favor on Count Ten of the Complaint in this action. That Count,

brought solely on behalf of plaintiff Lilia Kilburn, alleges that, during Harvard’s investigation of

Kilburn’s sexual harassment allegations, Harvard obtained plaintiff Lilia Kilburn’s private therapy

records from a mental health counselor and released them without her consent. Facts plaintiff

cannot dispute demonstrate that this his claim is patently false and creates no basis for liability

against Harvard.




1
  Harvard University is not properly named as a Defendant in this action, since it is not a corporate entity
independent of the President and Fellows of Harvard College. Accordingly, the President and Fellows of Harvard
College. responds on behalf of both named Defendants.


                                                        1

FH10923153.1
       The undisputed facts demonstrates that Kilburn herself (1) volunteered to the Harvard

investigator reviewing her sexual harassment claims that she had spoken to a therapist about

Professor John Comaroff’s alleged harassment of her; (2) told the investigator that the therapist

had a record of “specific memories” that would provide “contemporaneous corroboration” for her

claims; (3) said the therapist stood “ready to attest” to her complaint; (4) gave the investigator the

therapist’s name and contact information; (5) urged the investigator to contact the therapist and to

obtain her therapy records for use in Harvard’s investigation; and (6) contacted her therapist to ask

her to search for documentation supporting her allegations against Comaroff.

        Moreover, before Kilburn gave the Harvard investigator her therapist’s name and contact

information, Harvard had notified Kilburn no fewer than seven times that Harvard’s procedures

for investigating harassment complaints required the investigator to disclose evidence the

investigator obtained during the investigation, like the therapy records, to Comaroff.

       Despite Harvard’s repeated reminders to Kilburn that its investigatory procedures required

disclosure of the therapy records to Comaroff, Kilburn expressed no objection to Harvard’s use of

those records, or their disclosure to Comaroff, until after the investigation had ended and the

internal appeals panel had convened.

       These facts, which are beyond dispute, make clear that Count Ten of the complaint, alleg-

ing that Harvard wrongfully induced Kilburn’s therapist to disclose confidential information and

invaded her privacy—is wholly without merit. Therefore, Harvard respectfully requests that the

Court enter summary judgment in Harvard’s favor on Count Ten of the Complaint.

       In further support of this Motion, Harvard files herewith:

       1. Harvard’s Memorandum of Law in Support of its Motion for Summary Judgment;


                                                  2

FH10923153.1
         2. Harvard’s Statement of Material Facts;

         3. Affidavit of Ilissa Povich and associated exhibits;2

         4. Affidavit of Kwok W. Yu; and

         5. Affidavit of Alexandria Masud

         WHEREFORE, Harvard University and President and Fellows of Harvard College

respectfully request that that the Court enter summary judgment as to Count Ten of plaintiff’s

complaint.

                                                           Respectfully submitted,

                                                           /s/ Martin F. Murphy
    Victoria L. Steinberg, BBO #666482                    Martin F. Murphy, BBO #363250
    Julien M. Mundele, BBO #694001                        Madeleine K. Rodriguez, BBO #684394
    Rachel C. Hutchinson, BBO #696739                     FOLEY HOAG LLP
    TODD & WELD LLP                                       155 Seaport Boulevard, Suite 1600
    One Federal Street                                    Boston, MA 02210
    Boston, MA 02110                                      Telephone: (617) 832-1000
    Telephone:     (617) 624-4714                         Facsimile: (617) 832-7000
    Facsimile:     (617) 624-4814                         mmurphy@foleyhoag.com
    vsteinberg@toddweld.com                               mrodriguez@foleyhoag.com
    jmundele@toddweld.com
    rhutchinson@toddweld.com

                                                          Attorneys for Defendants,
                                                          Harvard University and President and
                                                          Fellows of Harvard College




2
 Harvard has filed a separate motion to file under seal several of the exhibits to the Affidavit of Ilissa
Povich.

                                                      3

FH10923153.1
                              LOCAL RULE 7.1 CERTIFICATION
        I hereby certify that, pursuant to Local Rule 7.1(a)(2), I met and conferred with counsel for
Plaintiffs on May 31, 2022 and the parties were unable to narrow or resolve the issues raised therein.
.
                                                     /s/ Martin F. Murphy
                                                     Martin F. Murphy




                                CERTIFICATE OF SERVICE
        I, Martin F. Murphy, hereby certify that a copy of the foregoing was sent via the Court’s
electronic filing system and served to all counsel of record on May 31, 2022.

                                                     /s/ Martin F. Murphy
                                                     Martin F. Murphy




                                                4

FH10923153.1
